                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

                                                §
 AMERICAN HOME ASSURANCE                        §
 COMPANY, AS SUBROGEE OF                        §
 ARCELORMITTAL TEXAS HBI LLC, ET                §    CIVIL ACTION NO. 2:24-cv-00182
 AL.                                            §
                                                §
                            Plaintiff,          §
                                                §
              v.                                §
                                                §
 MIDREX TECHNOLOGIES INC.; SIEMENS              §
 INDUSTRY, INC.; LEXICON, INC.;                 §
 PRIMETALS TECHNOLOGIES USA LLC;                §
 ALTRAD SERVICES LIMITED; AND                   §
 ALTRAD SERVICES LIMITED f/k/a                  §
 ALTRAD YORK LININGS LIMITED,                   §
                                                §
                            Defendants.         §
                                                §

 [PROPOSED] ORDER GRANTING DEFENDANTS ALTRAD SERVICES LIMITED
 AND ALTRAD YORK LININGS LIMITED’S MOTION TO DISMISS THE SECOND
                      AMENDED COMPLAINT

      Upon consideration of Defendants Altrad Services Limited and Altrad York Linings

Limited’s Motion to Dismiss the Second Amended Complaint, the Court hereby ORDERS that:

      (a) The Motion to Dismiss is GRANTED; and

      (b) All claims asserted in the Second Amended Complaint (ECF No. 25) by Plaintiff
          American Home Assurance Company, as Subrogee of Arcelormittal Texas HBI LLC,
          et al. against Altrad Services Limited and Altrad York Linings Limited are
          DISMISSED under Rule 12(b)(2).


      ORDERED on ____________, 2025.


                                            Hon. Nelva Gonzales Ramos
                                            United States District Judge
